         Case 2:11-cr-00123-LRS        ECF No. 96   filed 11/28/12   PageID.277 Page 1 of 1




1                            UNITED STATES DISTRICT COURT
2                         EASTERN DISTRICT OF WASHINGTON
3
4 UNITED STATES OF AMERICA,                             No. CR-11-123-LRS-1

5                         Plaintiff,                    ORDER FOLLOWING:
6                                                       ☒ INITIAL APPEARANCE
     vs.
7                                                       ☒ UNOPPOSED MOTION
8 EDWARD LEE NICHOLS,                                          GRANTED
9                                                              (ECF No. 92)
                          Defendant.
10
11   Date of hearing: 11/28/2012
12   ☒      Petition for action: Post-trial or post-guilty plea, pre-sentencing
13   Defendant was advised of, and acknowledged, Defendant’s rights.
14   ☒      The United States did not seek detention.
15   ☐      A separate Order will issue setting forth conditions of release.
16   ☐      Defendant is released on the previously ordered conditions of release.
17   ☒      Per the unopposed request by Defendant, Defendant’s previously ordered
18          conditions of release are modified as follows:
19          Mandatory drug testing eliminated provided, however, Pretrial Services to
20          have the discretion to restart testing and direct chemical dependency
21          assessment.
22          All other conditions remain.
23   ☒      Other: No findings made. Unopposed request to eliminate drug testing.
24          Pretrial and USA do not oppose as Defendant is post-brain surgery and takes
25          prescription medication.
26   DATED November 28, 2012.
27
                               S/ CYNTHIA IMBROGNO
28                        UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
